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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                      Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                      Case No. 17-12560 (JKS)
al.,1
                                                                            (Jointly Administered)
                        Remaining Debtors.
MICHAEL GOLDBERG, in his capacity as Liquidating
Trustee of the WOODBRIDGE
LIQUIDATION TRUST,                                                          Adversary Proceeding
                        Plaintiff,                                          Case No. 19-51071 (JKS)
                     vs.
EDUARDO G. DIAZ and DIAZ RETIREMENT
                                                                            Ref Docket No. 28
CONSULTANTS,

                                    Defendants.


                                         AFFIDAVIT OF SERVICE

STATE OF OHIO                       )
                                    ) ss.:
COUNTY OF FRANKLIN                  )

ANGELA CHACHOFF, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action & Claims Solutions, Inc., located at
   5151 Blazer Parkway, Suite A, Dublin, Ohio 43017. I am over the age of eighteen years and
   am not a party to the above-captioned action.

2. On September 17, 2021, I caused to be served the “Entry of Default,” dated September 17,
   2021 [Docket No. 28], by causing a true and correct copy to be enclosed securely in a
   postage pre-paid envelope and delivered via first class mail to: Diaz Retirement Consultants,
   Attention: Eduardo Diaz, 107 San Souci Avenue, Ocean Springs, Mississippi 39564-5340.




1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as
         follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
         LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423.
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3. The envelope utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                  /s/ Angela Chachoff
                                                                  Angela Chachoff

 Sworn to before me this
 17th day of September, 2021
 /s/ Andrea R. Speelman
 Andrea R. Speelman
 Notary Public, State of Ohio
 Commission Expires March 21, 2024
